      Case 1:14-cv-09912-KMW-GWG Document 263 Filed 10/07/21 Page 1 of 3
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                                                                        DOCUMENT
UNITED STATES DISTRICT COURT                                            ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
                                                                        DOC #:
---------------------------- -----------------------------------X
                                                                        DATE FILED: tt:J    l-;/- r-1~1
MYUN-UK CHOI et al.,
                                                                    ORDER
                          Plaintiffs,                               14 Civ. 9912 (KMW)(GWG)

                           -v.-



TOWER RESEARCH CAPTIAL LLC, et al.,

                          Defendants,


---------------------------------- -----------------------------X
KIMBA M . WOOD, United States District Judge:

        In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73 , a United

States Magistrate Judge is available to rule on dispositive motions in this case. If the parties

consent to the Magistrate Judge's ruling on a particular motion, no objection to the ruling would

be permitted under Fed. R. Civ. P. 72(b)(2). Instead, the ruling would be treated as any other

ruling in the case and would be reviewable to the extent the ruling would have been reviewable

had it been made by a District Judge, including, if applicable, an appeal to the United States

Court of Appeals.

         Exercise of jurisdiction by a Magistrate Judge to make a ruling on a dispositive motion is

permitted only if all parties voluntarily consent. To determine whether the parties wish to

voluntarily consent to Judge Gorenstein ruling on the motion for class certification (Dkt. No.

25 8), counsel for defendants is directed to send to counsel for plaintiffs on or before

October 14, 2021, a copy of the attached consent form bearing either (1) a signature indicating

consent to the Magistrate Judge ruling on the class certification motion, or (2) a notation that

the defendants do not consent.
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        On or before October 21, 2021, plaintiffs' counsel is directed to file a letter on ECF either

attaching a signed and completed form or stating in the letter that not all parties have consented

to the Magistrate Judge ruling on the motion. If any party has not consented, counsel for the

plaintiffs shall not state which of the parties have not consented but shall merely state that there

has not been consent by all parties.

       This Order is not intended to interfere with the parties' right to have a trial and/or any

other dispositive proceedings before a United States District Judge. The parties are free to

withhold their consent without adverse substantive consequences. If any party withholds

consent, the identity of the parties consenting or withholding consent shall not be communicated

to any Magistrate Judge or District Judge to whom the case has been assigned.

        SO ORDERED.

DATED:         New York, New York
               October 6, 2021




                                                  KIMBA M. WOOD
                                                  United States District Judge
                Case 1:14-cv-09912-KMW-GWG Document 263 Filed 10/07/21 Page 3 of 3
AO 85A (Rev. 02/ 17) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                          Southern District of New York

                    MYUN-UK CHOI et al.,                                      )
                              Plaintiff                                       )
                                 V.                                           )       Civil Action No.     14 Civ. 9912 (KMW)
       TOWER RESEARCH CAPTIAL LLC, et al.,                                    )
                              Defe ndant                                      )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences . The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

       Consent to a magistrate judge 's consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).

                   Motions: Docket# 258 (Motion to Certify Class)




      Printed names ofparties and attorneys                               Signatures ofparties or attorneys                            Dates




                                                                    Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).


 Date:
                                                                                                         District Judge 's signature



                                                                                                          Printed name and title

 Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
           magistrate judge. Do not return this form to a judge.
